
349 U.S. 44 (1955)
NATURAL GAS PIPELINE CO.
v.
PANOMA CORPORATION ET AL.
No. 191.
Supreme Court of United States.
Argued March 28-29, 1955.
Decided April 11, 1955.
APPEAL FROM THE SUPREME COURT OF OKLAHOMA.[*]Douglas F. Smith argued the cause for appellant in Nos. 191 and 321. Clarence H. Ross argued the cause for appellant in No. 321. With them on the brief were D. H. Culton, Coleman Hayes, Warren T. Spies and Arthur R. Seder, Jr.
Mac Q. Williamson, Attorney General of Oklahoma, and T. Murray Robinson argued the cause for appellees in No. 191. Hugh B. Cox argued the cause for appellees in No. 321. With them on a joint brief were Rayburn L. Foster, Harry D. Turner, R. M. Williams and Kenneth Heady. Mr. Robinson and Leon Shipp also filed a brief for appellees in No. 191.
PER CURIAM.
In these cases Oklahoma has attempted to fix a minimum price to be paid for natural gas, after its production and gathering has ended, by a company which transports the gas for resale in interstate commerce. We held in Phillips Petroleum Co. v. Wisconsin, 347 U. S. 672, that *45 such a sale and transportation cannot be regulated by a State but are subject to the exclusive regulation of the Federal Power Commission. The Phillips case, therefore, controls this one.
We disagree with the contention of the appellees that Cities Service Gas Co. v. Peerless Oil and Gas Co., 340 U. S. 179, and Phillips Petroleum Co. v. Oklahoma, 340 U. S. 190, are applicable here. In those cases we were dealing with constitutional questions and not the construction of the Natural Gas Act. The latter question was specifically not passed upon in those cases.
Reversed.
MR. JUSTICE DOUGLAS, being of opinion that State regulation of price is permissible until the Federal price regulation permitted by Phillips Petroleum Co. v. Wisconsin, 347 U. S. 672, is imposed, dissents.
MR. JUSTICE HARLAN took no part in the consideration or decision of these cases.
NOTES
[*]  Together with No. 321, Natural Gas Pipeline Co. v. Corporation Commission of Oklahoma et al., also on appeal from the same court, argued March 29, 1955.

